Case 8:20-cv-01469-SB-ADS Document 20 Filed 10/30/20 Page 1 of 2 Page ID #:104



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                                                   October 30, 2020
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  8                           UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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 11   KENNETH DAVIDSON,                      Case No.: 8:20-cv-01469 JLS (ADSx)
                                             Assigned to Hon. Josephine L. Staton
 12              Plaintiff,                  xxxxxxxxxxxx
                                             [PROPOSED] ORDER GRANTING
 13        vs.                               STIPULATION FOR DISMISSAL OF
                                             THE ENTIRE ACTION
 14

 15 SOON NAM CHOI D/B/A FLAME
 16 BROILER; IHKR, LP; and DOES 1 to
    10,
 17           Defendants.
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                                      [PROPOSED] ORDER
Case 8:20-cv-01469-SB-ADS Document 20 Filed 10/30/20 Page 2 of 2 Page ID #:105



  1         Based on the stipulation of the parties and for good cause shown:
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  3         IT IS HEREBY ORDERED that the entire action be dismissed without
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  5   prejudice, all parties to bear their own fees and costs.
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  7         SO ORDERED.
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  9                 October 30, 2020
            DATED: _____________                       _______________________________
 10                                                    United States District Court Judge

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                                          [PROPOSED] ORDER
